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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                              UNITED STATES DISTRICT COURT                             December 30, 2020
                               SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                                 BROWNSVILLE DIVISION

ROSENDO PADILLA, JR.,                            §
                                                 §
       Plaintiff,                                §
                                                 §
VS.                                              §   CIVIL ACTION NO. 1:19-CV-119
                                                 §
THOMAS QUINTERO,                                 §
                                                 §
       Defendant.                                §

                ORDER ADOPTING REPORT AND RECOMMENDATION

       Plaintiff Rosendo Padilla, Jr. brings this action against Thomas Quintero, a deputy clerk

in the Cameron County District Clerk’s Office. Padilla alleges that for over a year, Quintero

delayed filing a motion that Padilla sought to file to challenge the validity of a prior state court

conviction. (Petition, Doc. 1, 1–2; Brief in Support, Doc. 1-1, 1–2) Quintero has moved for

judgment on the pleadings. (Motion, Doc. 29)

       The Magistrate Judge issued a Report and Recommendation (Doc. 40) recommending

that the Motion be granted and that Padilla’s claims be dismissed. Padilla filed objections. (Doc.

42)

       The Court has conducted a de novo review of the record and the applicable law in this case.

In his objections to the Report and Recommendation, Padilla re-urges arguments he presented to

the Magistrate Judge, and which the Report and Recommendation ably and correctly addresses.

       Accordingly, the Court OVERRULES Padilla’s objections and ADOPTS the Report and

Recommendation (Doc. 40). It is:

       ORDERED that Defendant’s Motion for Judgment on the Pleadings (Doc. 29) is

GRANTED;

       ORDERED that Plaintiff Rosendo Padilla, Jr.’s claim to have the Court order Defendant

Thomas Quintero to calendar the motion is DISMISSED WITHOUT PREJUDICE; and

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       ORDERED that Plaintiff Rosendo Padilla, Jr.’s claim regarding denial of access to the

court is DISMISSED WITH PREJUDICE.

       The Clerk of Court is directed to close this matter.

        SIGNED this 30th day of December, 2020.



                                                  ____________________________
                                                  Fernando Rodriguez, Jr.
                                                  United States District Judge




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